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                          Exhibit “A”

                        Proposed Order
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        IN THE UNITED STATES BANKRUPTCY COURT
          FOR THE SOUTHERN DISTRICT OF TEXAS
                     VICTORIA DIVISION
____________________________________________
                                       )
In re:                                  ) Chapter 11
                                       )
                         1
LINN ENERGY, LLC, et al.,              ) Case No. 16-60040
(DRJ)
                                       )
                  Debtors.             )  (Jointly Administered)
 ____________________________________ )

     ORDER OVERRULING DEBTORS’ SEVENTH OMNIBUS
    OBJECTION TO CERTAIN PROOFS OF CLAIM (EQUITY
                     INTEREST CLAIMS)
_____________________________________________________________

        Upon the Response in Opposition (the “Response”)2 of the above-

captioned CLAIMANT seeking entry of an order (this “Order”): (a)

protecting the CLAIMANT’s claims identified on Schedule 1attached

hereto; and (b) preventing expungement of the Equity Interest Claims

identified on Schedule 1 attached hereto; and (c) granting related relief, all

1
  The Debtors in these chapter 11 cases and the last four digits of each Debtor’s federal tax identification
number
are as follows: Linn Energy, LLC (7591); Berry Petroleum Company, LLC (9387); LinnCo, LLC (6623);
Linn
Acquisition Company, LLC (4791); Linn Energy Finance Corp. (5453); Linn Energy Holdings, LLC
(6517);
Linn Exploration & Production Michigan LLC (0738); Linn Exploration Midcontinent, LLC (3143); Linn
Midstream, LLC (9707); Linn Midwest Energy LLC (1712); Linn Operating, Inc. (3530); Mid-Continent I,
LLC (1812); Mid-Continent II, LLC (1869); Mid-Continent Holdings I, LLC (1686); Mid-Continent
Holdings
II, LLC (7129). The Debtors’ principal offices are located at JPMorgan Chase Tower, 600 Travis Street,
Houston, Texas 77002.
2
 Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the
Objection.



                                                     2
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as more fully set forth in the Response; and after due deliberation, it is

HEREBY ORDERED THAT:

      1. The Objection is overruled as set forth herein.

      2. Each Equity Interest Claim identified on Schedule 1 to this Order is

allowed and will not be expunged nor will this Order affect any proof of

interest the CLAIMANT and holder of an Equity Interest Claim may file, or

the rights or recovery of such holder under a chapter 11 plan in these chapter

11 cases, if any, with respect to any such equity interests.

      3. The Clerk is authorized and directed to update the claims register

maintained in these chapter 11 cases as necessary to reflect the relief granted

in this Order.

      4. To the extent a response is filed regarding any other Equity Interest

Claim, each such Equity Interest Claim, and the Objection as it pertains to

such Equity Interest Claim, will constitute a separate contested matter as

contemplated by Bankruptcy Rule 9014. This Order will be deemed a

separate order with respect to the identified Equity Interest Claims in

Schedule 1.

      5. Notwithstanding the relief granted in this Order and any actions

taken pursuant to such relief, nothing in this Order shall be deemed: (a) a

request or authorization to assume any prepetition agreement, contract, or



                                       3
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lease pursuant to section 365 of the Bankruptcy Code; or (b) a waiver of the

CLAIMANT’s rights under the Bankruptcy Code or any other applicable

law.

       6. The terms and conditions of this Order will be immediately

effective and enforceable upon its entry.

       7. The Debtors are directed to take all actions necessary to effectuate

the relief granted the CLAIMANT pursuant to this Order in accordance with

the Response.

       8. This Court shall retain exclusive jurisdiction to resolve any dispute

arising from or related to this Order.


Dated: _____________, 2017 ___________________________________
Houston, Texas             THE HONORABLE DAVID R. JONES
                           UNITED STATES BANKRUPTCY JUDGE




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                                  Schedule 1

                             Equity Interest Claims

                               Prime
                     Court     Clerk             Asserted Basis for Proposed
                     Claim     Claim              Claim   Objection Treatment
Claimant    Date      No.       No.    Debtor    Amount
            Filed


 Dulcie,                                                    Equity
 Diane                                                     Interest
           8/25/16     3       1625    LinnCo,   $592.32   Claims     Protect and
                                        LLC                             Allow




 Dulcie,
 Diane
           8/25/16   1160      1694     Linn     $592.32    Equity    Protect and
                                       Energy,             Interest     Allow
                                        LLC                Claims




                                        5
